         Executive Grant of Clemency

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:



        AFTER CONSIDERING THE APPLICATIONS for executive clemency of each of
the following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on November 4, 2018, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make immediately available to each named person the Residential Drug Abuse
Program (RDAP). Further, I condition the grant of commutation to each of the following named
persons on that person enrolling in the RDAP program by written agreement, as evidenced by
that person's signing, within 14 days of that person's receipt of a certified copy of this document,
a receipt verifying his or her acceptance of the commutation granted with all of its conditions,
including enrollment in RDAP:


       William Baldwin                                Reg. No. 17126-014
       Joshua Chuntay Booker                          Reg. No. 06848-017
       Zoann Brown                                    Reg. No. 03210-029
       Michael Cooper                                 Reg. No. 42262-037
       Howard Gregory Cromer                          Reg. No. 58994-019
       Jose Gonzalez                                  Reg. No. 05310-028
       Sean Johnson                                   Reg. No. 23766-034
       George Andrew Kelley                           Reg. No. 36385-180
       Oscar Luke Muse                                Reg. No. 11923-084
       Cory Shane Peacock                             Reg. No. 23897-009
       Demetrius Carl Phillips                        Reg. No. 06313-017
       Christopher G. Rhodes                          Reg. No. 29028-044
       Gerald William Sachsenmaier                    Reg. No. 10747-045
       Kenneth Sanders                                Reg. No. 14180-018
       Jeffery William Strain                         Reg. No. 17513-045
       Gregory Scott Taylor                           Reg. No. 58098-080
       Robert James Wallace                           Reg. No. 40913-037
       Mark Jeffrey Ward                              Reg. No. 41649-039
       Kelly J. Winkenhofer,                          Reg. No. 58137-019
         aka Jean Kelly Winkenhofer




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        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 180 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Dwayne Edward Coe                              Reg. No. 20873-058
       Delfon Lebrew Hare                             Reg. No. 39733-037
       Michael Lee Roth                               Reg. No. 03652-029


        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 188 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence. I also direct the Bureau of
Prisons to make available to each named person the Residential Drug Abuse Program (RDAP),
or future equivalent program, at an appropriate time before each person's sentence expires.
Further, I condition the grant of commutation to each of the following named persons on that
person enrolling in the RDAP program by written agreement, as evidenced by that person's
signing, within 14 days of that person's receipt of a certified copy of this document, a receipt
verifying his or her acceptance of the commutation granted with all of its conditions, including
enrollment in RDAP:

       Demetrius McLaughlin                           Reg. No. 41297-018
       Adam G. Townsend                               Reg. No. 14493-026


        I hereby further commute the total sentence of imprisonment imposed upon John
London Bradshaw, Reg. No. 12380-040, to a term of 262 months' imprisonment, leaving
intact and in effect the eight-year term of supervised release with all its conditions and all other
components of the sentence. I also direct the Bureau of Prisons to make available to the said
John London Bradshaw, Reg. No. 12380-040, the Residential Drug Abuse Program (RDAP) at
an appropriate time before his prison sentence expires. Further, I condition this grant of
commutation to the said John London Bradshaw, Reg. No. 12380-040, on him enrolling in
RDAP by written agreement, as evidenced by his signing, within 14 days of his receipt of a
certified copy of this document, a receipt verifying his acceptance of the commutation granted
with all of its conditions, including enrollment in RDAP.


        I hereby further commute the total sentence of imprisonment imposed upon Fermon
Keith Brown, Jr., Reg. No. 04659-017, to expire on November 4, 2018. I also remit the unpaid
balance of the $1,000 fine imposed upon the said Fermon Keith Brown, Jr., Reg. No. 04659-
017. I leave intact and in effect the 10-year term of supervised release with all its conditions and
all other components of the sentence. I also direct the Bureau of Prisons to make available to the
said Fermon Keith Brown, Jr., Reg. No. 04659-017, the Residential Drug Abuse Program, or
future equivalent program, at an appropriate time before his sentence expires. Further, I
condition this grant of commutation to the said Fermon Keith Brown, Jr., Reg. No. 04659-017,
on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of
his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.



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        I hereby further commute the total sentence of imprisonment imposed upon Brian Keith
Buckery, Reg. No. 13738-084, to a term of 151 months' imprisonment, leaving intact and in
effect the eight-year term of supervised release with all its conditions and all other components
of the sentence. I also direct the Bureau of Prisons to make available to the said Brian Keith
Buckery, Reg. No. 13738-084, the Residential Drug Abuse Program, or future equivalent
program, at an appropriate time before his sentence expires. Further, I condition this grant of
commutation to the said Brian Keith Buckery, Reg. No. 13738-084, on him enrolling in RDAP
by written agreement, as evidenced by his signing, within 14 days of his receipt of a certified
copy of this document, a receipt verifying his acceptance of the commutation granted with all of
its conditions, including enrollment in RDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Ricky
Mitchell, Reg. No. 22323-018, to a term of 360 months' imprisonment, leaving intact and in
effect all other components of the sentence. I also direct the Bureau of Prisons to make available
to the said Ricky Mitchell, Reg. No. 22323-018, the Residential Drug Abuse Program (RDAP),
or equivalent future program, at an appropriate time, before his prison sentence expires. Further,
I condition this grant of commutation to the said Ricky Mitchell, Reg. No. 22323-018, on him
enrolling in RDAP by written agreement, as evidenced by his signing, within 14 days of his
receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.



       I hereby further commute the total sentence of imprisonment imposed upon Kirk Pryor,
aka Richmond Oejoneil Felton, Reg. No. 16835-058, to a term of 292 months' imprisonment,
leaving intact and in effect the 10-year term of supervised release with all its conditions and all
other components of the sentence. I also direct the Bureau of Prisons to make available to the
said Kirk Pryor, aka Richmond Oejoneil Felton, Reg. No. 16835-058, the Residential Drug
Abuse Program (RDAP), or equivalent future program, at an appropriate time, before his prison
sentence expires. Further, I condition this grant of commutation to the said Kirk Pryor, aka
Richmond Oejoneil Felton, Reg. No. 16835-058, on him enrolling in RDAP by written
agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy of this
document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.



        I hereby further commute the total sentence of imprisonment imposed upon Madison
Pugh, Jr., Reg. No. 52288-060, to a term of 360 months' imprisonment, leaving intact and in
effect all other components of the sentence. I also direct the Bureau of Prisons to make available
to the said Madison Pugh, Jr., Reg. No. 52288-060, the Residential Drug Abuse Program
(RDAP), or equivalent future program, at an appropriate time, before his prison sentence expires.
Further, I condition this grant of commutation to the said Madison Pugh, Jr., Reg. No. 52288-
060, on him enrolling in RDAP by written agreement, as evidenced by his signing, within 14
days of his receipt of a certified copy of this document, a receipt verifying his acceptance of the
commutation granted with all of its conditions, including enrollment in RDAP.




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         I hereby further commute the total sentence of imprisonment imposed upon David Ray
Roy, Reg. No. 33117-183, to a term of 168 months' imprisonment, leaving intact and in effect
the five-year term of supervised release with all its conditions and all other components of the
sentence. I also direct the Bureau of Prisons to make available to the said David Ray Roy, Reg.
No. 33117-183, the Residential Drug Abuse Program (RDAP), or equivalent future program, at
an appropriate time, before his prison sentence expires. Further, I condition this grant of
commutation to the said David Ray Roy, Reg. No. 33117-183, on him enrolling in RDAP by
written agreement, as evidenced by his signing, within 14 days of his receipt of a certified copy
of this document, a receipt verifying his acceptance of the commutation granted with all of its
conditions, including enrollment in RDAP.



        THIS GRANT SHALL become effective as to each of the above-named persons only
upon the delivery and presentment of a certified copy of this document to that person and upon
that person's acceptance of the conditional terms of the grant. I further direct that once the
receipt has been signed by the grant recipient, the Bureau of Prisons shall immediately forward
an ELECTRONIC COPY of the receipt to the Office of the Pardon Attorney, which will deliver
that copy to appropriate personnel in the Bureau of Prisons Designation and Sentence
Computation Center, who will recalculate the projected release dates of each respective recipient.
Failure of a person to sign the receipt and accept the conditional terms of the commutation grant
will render the grant of commutation null and void only as to the person who rejected the grant,
and not to all persons named herein.

        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this Fourth
                                                     day of November in the year of our Lord
                                                     Two thousand and sixteen and of the
                                                     Independence of the United States the
                                                     two hundred and forty-first.




                                                             BARACK OBAMA
                                                                President




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